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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-03098-NRN

  SONDRA BEATTIE and FRANCIS HOUSTON, JR., individually and on behalf of all other
  similarly situated individuals,

         Plaintiffs

  v.

  TTEC HEALTHCARE SOLUTIONS, INC. and TTEC HOLDINGS, INC.,

         Defendants.


   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ SECOND MOTION
              TO COMPEL ARBITRATION OF OPT-IN PLAINTIFFS


                                    I.    LEGAL ARGUMENT

         Defendants’ Second Motion to Compel Arbitration of Opt-In Plaintiffs (Doc. 85) (“Motion

  to Compel”) seeks to compel opt-in plaintiffs Emily Blair, Rob Ashley Jones, Angel Powell,

  Bradley Sechler, and Sawayla Wright to individually arbitrate their claims based upon an unsigned

  and undated arbitration agreement (Doc. 85-2) and a declaration from Defendants’ Director of

  Human Capital Anna Haugen, who, relying on purported business records, or “training

  transcripts,” testifies that these opt-in plaintiffs electronically assented to individually arbitrate

  their claims during the new hire onboarding process. (Doc. 85-1, Declaration of Anna Haugen ¶¶

  3-8.) Defendants’ reliance on business records, or “training transcripts,” raises serious concerns in

  light of Defendants’ admission that they cannot even ascertain whether 26 of the opt-in plaintiffs,

  representing approximately 30% of all individuals who have opted into this action, worked for

  Defendants, let alone whether they electronically assented to an arbitration agreement. (Doc. 85,

  Motion to Compel at 3.)


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         For these reasons, and for the reasons stated in Plaintiffs’ briefing (see Doc. 30, 36 and 64)

  in response to Defendants’ Motion to Compel Individual Arbitration (Doc. 18) and Defendants’

  Objections to Magistrate’s Report & Recommendation (Doc. 57), Plaintiffs submit that

  Defendants’ evidence is insufficient to compel these five opt-in plaintiffs—or any opt-in plaintiff

  for that matter—to individually arbitrate their claims.

         That being said, Plaintiffs concede that Defendants’ proffered evidence—namely, Ms.

  Haugen’s declaration and the five opt-in plaintiffs’ “training transcripts”—is substantially similar

  to the evidence they relied upon to successfully compel named Plaintiffs Sondra Beattie and

  Francis Houston, Jr. and 55 opt-in plaintiffs to arbitration. (See Doc. 66 and 82.) Therefore, rather

  than repeat the arguments made in Plaintiffs’ prior briefing, Plaintiffs’ primary focus is enforcing

  this Court’s Order (Doc. 82) granting conditional certification and ensuring that prompt notice of

  this lawsuit is issued to the tens of thousands of Customer Service Representatives (“CSRs”) who

  are unaware of this lawsuit, so that they can be apprised of their opt-in rights and make an informed

  decision regarding whether or not to opt into this case and protect their statute of limitations, which

  continues to run due to Defendants’ repeated delay tactics, including their refusal to obey this

  Court’s written Order to provide Plaintiffs’ counsel with the names and locating information of all

  CSRs nationwide. (Id. at 5-6.)

         Based upon the foregoing, specifically, Defendants’ deficient and unreliable recordkeeping

  system, illustrated by their baffling inability to determine who works for them, Plaintiffs oppose

  Defendants’ Motion to Compel and will continue opposing any attempt by Defendants to compel

  any of the CSRs to individual arbitration.




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                                       II.   CONCLUSION

         For the reasons stated herein, this Court should find that Defendants failed to satisfy their

  initial burden of presenting evidence sufficient to demonstrate the existence of an enforceable

  arbitration agreement between Defendants and the five opt-in plaintiffs who are the subject matter

  of Defendants’ motion, and, therefore, Defendants’ Motion to Compel should be denied.


  Dated: August 6, 2019                                 Respectfully submitted,

                                                        /s/ Rod M. Johnston
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                                                        Attorneys for Plaintiffs and the Putative
                                                        Collective/Class Members

                                   CERTIFICATE OF SERVICE

         I certify that on August 6, 2019, I electronically filed the forgoing paper with the Clerk of

  the Court using the ECF system, which will send notification of such filing to all counsel of record.

                                                        /s/ Janice Koehler




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